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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF UTAH
DAVID ZAMORA and GUMECINDO
ZAMORA,
Plaintiffs,
“ LAUREN QUEZADA’S RESPONSES
DOUGLAS QUEZADA, AND OBJECTIONS TO PLAINTIFFS
FIRST SET OF DISCOVERY
Defendant. REQUESTS
DOUGLAS QUEZADA, Case No. 2:22-cv-00616-DBB
Counterclaimant, Judge: David Barlow

DAVID ZAMORA and GUMECINDO
ZAMORA,

Counterclaim Defendants.

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Defendant Lauren Quezada (“Quezada”), by and through her counsel of record,
hereby responds to Plaintiffs David Zamora (“David”) and Gumecindo Zamora
(“Gumecindo”) (collectively, “Plaintiffs”) First Set of Discovery Requests as follows:

GENERAL COMMENTS

1, Defendant's Responses are made for the sole and exclusive purpose of this
action and shall not be used for any other purpose. Furthermore, each Response is
subject to all objections as to competence, relevance, materiality, propriety, and
admissibility, and any and all other objections and grounds which would require the
exclusion of any statement herein if the Discovery Requests were asked of, or any
statements contained herein were made by, a witness present and testifying in court. All
such objections and grounds are reserved and may be interposed at the time of trial.

Die Defendant's Responses herein are based on his present knowledge of the
facts and circumstances relevant to the instant action. Discovery in this matter is
continuing. Defendant has not completed her investigation of the facts and
circumstances relating to this matter. Defendant has not completed discovery in this
matter. Defendant has not completed preparation for trial in this matter. Accordingly,
these Responses are made without prejudice to Defendant with respect to additional
information discovered hereafter.

5. Subject to the foregoing objections and reservations, which are
incorporated into the specific responses below as if set forth at length therein, the
following Responses are provided based upon review of matters to date. The right to
supplement the responses if and when additional responsive information is discovered
and/or obtained is reserved.

DEFINITIONS OF SPECIFIC OBJECTIONS
As used in the Specific Objections and Responses below, the following terms

include objections based upon their respective definitions:
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1, “Vague and Ambiguous” is defined to mean: Defendant objects on the
basis that, and insofar as, the Discovery Request is vague, uncertain, and too ambiguous
to adequately describe what information is being sought or to allow the disclosure of
such information with reasonable effort.

2 “Overbroad” is defined to mean: Defendant objects on the basis that, and
insofar as, the information sought is overbroad and calls for an expansive potential
breadth of information that is unreasonable in scope and parameter.

a. “Not relevant” is defined to mean: Defendant objects on the basis that,
and insofar as, the Discovery Request seeks information irrelevant to the subject matter
of this lawsuit.

4. “Duplicative” is defined to mean: Defendant objects on the basis that, and
insofar as, the Discovery Request calls for information that is cumulative or duplicative
of other discovery.

5, “Burdensome” is defined to mean: Defendant objects on the basis that the
Discovery Request is so broad and uncertain that it creates an unreasonable and undue
burden such that the burden or expense of the proposed discovery outweighs its likely
benefit. Burdensome is also defined to mean that Defendant objects to the Discovery
Request because the information sought is more readily obtainable through other, more
convenient, less burdensome, and less expensive sources or discovery procedures. This
includes information already in Plaintiff's possession or to which Plaintiff has
substantially similar access or ability to obtain.

6. “Compound” is defined to mean: Defendant objects on the basis that the
Discovery Request is addressed to multiple distinct parties and is thus several

Discovery Requests compounded in one, or that it contains multiple discrete subparts.
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ds “Premature” is defined to mean: Defendant objects on the basis that
discovery is ongoing, and Defendant has not yet necessarily identified each and every
document or item of information that is responsive to any particular Discovery Request.

8. “Privileged” is defined to mean: Defendant objects on the basis that, and
insofar as, the Discovery Request calls for information or documents (1) protected by
the attorney-client privilege; (2) protected by the work-product doctrine; (3) protected
because it consists, in whole or in part, of trial preparation materials and/or documents
containing mental impressions, conclusions, opinions, or legal theories of counsel;
and/or (4) protected under any other valid privilege.

a, “Legal conclusion” is defined to mean: Defendant objects on the basis and
insofar as the discovery request calls for Defendant to reach a legal conclusion.

10. The phrase “subject to, and without waiving the foregoing Specific
Objections,” or words having similar effect, is defined to mean: Notwithstanding the
fact that Defendant answers or provides information in response to a Discovery
Request, he does not waive any objection that has been asserted.

INTERROGATORIES

INTERROGATORY NO. 1: Describe any involvement you had in HOC LLC
between January 1, 2017 and the present. In doing so, provide the following information:
(a) whether you were an employee, member, manager, or officer of HOC LLC at any time
during the above referenced period; (b) the dates you were employed by HQC LLC or
served as a member, manager, or officer; (c) whether you performed any work for or
pertaining to HOC LLC at any time during the above-referenced period, regardless of
whether you were an employee, member, manager, or officer; (d) the dates you
performed that work; and (e) describe the work performed.

RESPONSE: None.
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INTERROGATORY NO. 2: Identify each bank account for which you were an
account holder, authorized user, joint user, authorized signer, secondary signer, or
beneficiary between January 1, 2017 and the present. In doing so, state the name of the
financial institution and provide the account number.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were deposited
in any account held by Lauren Quezada. To the extent any funds were received by Lauren
Quezada from other parties, none of those funds were used for any purpose related to
making investments for Plaintiffs.

INTERROGATORY NO. 3: Describe any and all occasions on which you, Douglas
Quezada, or HQC LLC provided money to one or both Plaintiffs electronically, by mail,
in person, or through any other method between January 1, 2017 to the present. In doing
so, provide the following information: (a) the date the money was provided; (b) how the
money was provided (e.g. cash, check, wire transfer, ACH transfer, etc.); (c) the amount
of money provided; and (d) why the money was provided.

RESPONSE:

On one occasion, I witnessed Douglas Quezada retrieve cash from our home safe
and give it to David Zamora. I do not recall the date or amount, but it appeared to be a
few thousand dollars in $100 bills. I understood it to be a loan for Gumecindo Zamora.

INTERROGATORY NO. 4: State whether you ever witnessed Douglas Quezada
provide cash, checks, or any negotiable instruments (collectively, “money”) to either
Plaintiff between January 1, 2017 and the present. If you have witnessed the foregoing,
provide the following information for each occurrence: (a) the date the money was

provided; (b) how the money was provided (e.g. cash, check, or other negotiable
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instrument); (c) the amount of money provided; (d) why the money was provided; and
(e) describe with specificity what you witnessed.

RESPONSE: See response to Interrogatory No. 3.

INTERROGATORY NO. 5: Identify each purchase and transaction in the HOC
LLC bank account statements (DEF000132-511) that were made by you or on your behalf.
In doing so, state the date, description, and amount of each purchase and transaction.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were deposited
in any account held by Lauren Quezada. To the extent any funds were received by Lauren
Quezada from other parties, none of those funds were used for any purpose related to
making investments for Plaintiffs.

INTERROGATORY NO. 6: Identify each purchase and transaction in the HOC
LLC bank account statements (DEF000132-511) that was made for your benefit in full or
in part. This includes, but is not limited to, anything that was given to you or purchased
or paid for you (such as gifts, items for your home, personal care items, clothing and
jewelry, food or meals, entertainment, airfare, vacations, gasoline, car payments, credit
card payments, mortgage or rent payments, other debt payments, etc.). For the avoidance
of doubt, this Interrogatory includes all purchases and transactions that benefitted you
regardless of whether they also benefitted other members of your family.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were deposited
in any account held by Lauren Quezada. To the extent any funds were received by Lauren
Quezada from other parties, none of those funds were used for any purpose related to

making investments for Plaintiffs.
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INTERROGATORY NO. 7: If you contend that any purchase or transaction
identified in your responses to Interrogatories No. 5 or 6 was for HOC LLC business
purposes, provide the following information: (a) identify the purchase or transaction by
date, description, and amount; (b) describe what was purchased or paid for; and (c)
explain the purpose of the purchase or transaction and how it related to HOC LLC
business.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. To the responding party’s knowledge, none of the funds provided by Plaintiffs
as alleged in this case were used for any purpose related to making investments for
Plaintiffs.

INTERROGATORY NO. 8: Explain why dozens of monetary transfers were made
out of the HQC LLC bank account into one or more of your bank accounts or other
financial accounts during the time period reflected in DEF000132-511.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were deposited
in any account held by Lauren Quezada. To the extent any funds were received by Lauren
Quezada from other parties, none of those funds were used for any purpose related to
making investments for Plaintiffs.

INTERROGATORY NO. 9: If you contend that any of the transfers referenced in
Interrogatory No. 8 or your answer thereto were for HQC LLC business purposes,
provide the following information: (a) identify the transfer by date, description, and
amount; (b) explain why the transfer was made; (c) identify the bank account or other
financial account (such as Venmo or Paypal) that the money was transferred into,

including the name of the financial institution and account number; (d) explain what was
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done with the money once it reached your account, including what it was spent on or
who it was transferred to; and (e) explain how any of the foregoing related to HQC LLC
business.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. To the responding party’s knowledge, none of the funds provided by Plaintiffs
as alleged in this case were used for any purpose related to making investments for
Plaintiffs.

INTERROGATORY NO. 10: Explain why dozens of monetary transfers were
made from one or more of your bank accounts or other financial accounts into the HOC
LLC bank account during the time period reflected in DEF000132-511.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were deposited
in any account held by Lauren Quezada. To the extent any funds were received by Lauren
Quezada from other parties, none of those funds were used for any purpose related to
making investments for Plaintiffs.

INTERROGATORY NO. 11: If you contend that any of the transfers referenced
in Interrogatory No. 10 or your answer thereto were for HQC LLC business purposes,
provide the following information: (a) identify the transfer by date, description, and
amount; (b) explain why the transfer was made; (c) identify the bank account or other
financial account (such as Venmo or Paypal) that the money was transferred from,
including the name of the financial institution and account number; and (d) explain how
the transfer related to HOC LLC business.

RESPONSE: Responding party objects that this request is not relevant or

proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
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evidence. To the responding party’s knowledge, none of the funds provided by Plaintiffs
as alleged in this case were used for any purpose related to making investments for
Plaintiffs.

REQUESTS FOR PRODUCTION

REQUEST NO. 1: All non-privileged documents and communications that you
identified, referred to, or relied upon in answering the Interrogatories served herewith.

RESPONSE: No responsive documents exist.

REQUEST NO. 2: All documents and communications exchanged between you,
on the one hand, and one or both Plaintiffs, on the other hand, between January 1, 2017
and the present. This Request applies to all documents and communications regardless
of which person sent or received them.

RESPONSE: After a diligent search, no documents were located responsive to this
request.

REQUEST NO. 3: All documents and communications exchanged between you,
on the one hand, and any other person (including, but not limited to, Douglas Quezada),
on the other hand, between January 1, 2017 and the present pertaining to, referencing,
reflecting, discussing, or mentioning one or both Plaintiffs. This Request applies to all
documents and communications regardless of which person sent or received them.

RESPONSE: Responding party objects that, as to communications with Douglas
Quezada or counsel, this is an effort to invade the spousal communications privilege
and/or the attorney-client privilege and work-product doctrine. Communications
between Responding Party, Douglas Quezada, and/or counsel relating to Plaintiffs once
litigation commenced were related to the Responding Party’s efforts, with her husband,
to seek legal advice and defend this lawsuit. Notwithstanding the above objection,

responsive documents were located and will be produced.
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REQUEST NO. 4: All documents and communications exchanged between you,
on the one hand, and any other person (including, but not limited to, Douglas Quezada),
on the other hand, pertaining to, referencing, reflecting, discussing, or mentioning any
money that you, Douglas Quezada, or HQC LLC loaned or advanced to one or both
Plaintiffs between January 1, 2017 and the present. This Request applies to all documents
and communications regardless of which person sent or received them.

RESPONSE: Responding party objects that, as to communications with Douglas
Quezada or counsel, this is an effort to invade the spousal communications privilege
and/or the attorney-client privilege and work-product doctrine. Communications
between Responding Party, Douglas Quezada, and/or counsel relating to Plaintiffs once
litigation commenced were related to the Responding Party’s efforts, with her husband,
to seek legal advice and defend this lawsuit. Notwithstanding the above objection, no
responsive documents were found after a diligent search, beyond what has already been
produced in this lawsuit.

REQUEST NO. 5: All documents and communications exchanged between you,
on the one hand, and any other person (including, but not limited to, Douglas Quezada),
on the other hand, pertaining to, referencing, reflecting, discussing, or mentioning the
Funds or any other money that one or both Plaintiffs paid or provided to you, Douglas
Quezada, or HOC LLC between January 1, 2017 and the present. This Request applies to
all documents and communications regardless of which person sent or received them.

RESPONSE: Responding party objects that, as to communications with Douglas
Quezada or counsel, this is an effort to invade the spousal communications privilege
and/or the attorney-client privilege and work-product doctrine. Communications
between Responding Party, Douglas Quezada, and/or counsel relating to Plaintiffs once
litigation commenced were related to the Responding Party's efforts, with her husband,

to seek legal advice and defend this lawsuit. Notwithstanding the above objection, no

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responsive documents were found after a diligent search, beyond what has already been
produced in this lawsuit.

REQUEST NO. 6: All other documents pertaining to, referencing, reflecting,
discussing, or mentioning one or both Plaintiffs or any money that you, Douglas
Quezada, or HOC LLC loaned or advanced to, or received from, one or both Plaintiffs
between January 1, 2017 and the present. This Request applies to all documents
regardless of whether those documents were sent to or shared with another person.

RESPONSE: Responding party objects that, as to communications with Douglas
Quezada or counsel, this is an effort to invade the spousal communications privilege
and/or the attorney-client privilege and work-product doctrine. Most or all
communications relating to Plaintiffs once litigation commenced were also related to the
Responding Party’s efforts, with her husband, to seek legal advice. Notwithstanding the
above, responsive documents were collated and will be produced.

REQUEST NO. 7: All monthly statements from January 1, 2017 to December 31,
2021 for any of your bank accounts or other financial accounts (such as Venmo or Paypal)
which any money from the HQC LLC bank account was transferred into during the above
referenced period.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were used for
any purpose related to making investments for Plaintiffs. Any funds transferred to
Lauren Quezada were used for her own purposes. No documents will be provided
beyond what has been provided already.

REQUEST NO. 8: All monthly statements from January 1, 2017 to December 31,

2021 for any of your bank accounts or other financial accounts (such as Venmo or Paypal)

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which any money was transferred from into the HOC LLC bank account during the above
referenced period.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were used for
any purpose related to making investments for Plaintiffs. Any funds transferred by
Lauren Quezada were for other purposes. No documents will be provided beyond what
has been provided already.

REQUEST NO. 9: All documents and communications pertaining to any purchase
or transaction in the HOC LLC bank account statements (DEF000132-511) that was made
by you or on your behalf.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were used for
any purpose related to making investments for Plaintiffs. Any purchases made for
Lauren Quezada were used for her own purposes. No documents will be provided
beyond what has been provided already.

REQUEST NO. 10: All documents and communications pertaining to, referencing,
reflecting, discussing, or mentioning any purchase or transaction in the HOC LLC bank
account statements (DEFQ00132-511) that was made for your benefit in full or in part. This
includes, but is not limited to, anything that was given to you or purchased or paid for
you (such as gifts, items for your home, personal care items, clothing and jewelry, food
or meals, entertainment, airfare, vacations, gasoline, car payments, credit card payments,
mortgage or rent payments, other debt payments, etc.). For the avoidance of doubt, this
Request includes all purchases and transactions that benefitted you regardless of whether

they also benefitted other members of your family.

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RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were used for
any purpose related to making investments for Plaintiffs. Any purchases made for
Lauren Quezada were used for her own purposes. No documents will be provided
beyond what has been provided already.

REQUEST NO. 11: All documents and communications pertaining to, referencing,
reflecting, discussing, or mentioning any monetary transfer between the HOC LLC bank
account and any of your bank accounts or other financial accounts between January 1,
2017 and December 31, 2021. For the avoidance of doubt, this Request includes all
transfers regardless of which account transferred or received the money.

RESPONSE: Responding party objects that this request is not relevant or
proportional to the case at issue, nor is it calculated to lead to the discovery of admissible
evidence. None of the funds provided by Plaintiffs as alleged in this case were used for
any purpose related to making investments for Plaintiffs. Any transfers to Lauren
Quezada were used for her own purposes. No documents will be provided beyond what
has been provided already.

REQUEST NO. 12: All documents and communications pertaining to, referencing,

reflecting, discussing, or mentioning any business purpose for the purchases,
transactions, and transfers referenced in Request Nos. 9, 10, and 11.

RESPONSE: Responding party does not have documents responsive to this
request.
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Dated this 234 day of September 2024.

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PIA HOYT, LLC

/s/ John P. Mertens
Joseph G. Pia

John P. Mertens
Nediha Hadzikadunic
Attorneys for Plaintiffs

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VERIFICATION

I, Lauren Quezada, hereby swear or affirm that above interrogatory responses are

true and correct.

Dated September 23, 2024

=
Lauren Quezada

CERTIFICATE OF SERVICE
[hereby certify that on September 23, 2024, a true and correct copy of the foregoing

RESPONSES AND OBJECTIONS TO PLAINTIFFS FIRST SET OF DISCOVERY

REQUESTS was delivered via email to the following:

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/s/ Melanie Buervenich

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